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                                                    November 9, 2022

           Hon. Tonianne J. Bongiovanni, USMJ
           United States District Court-District of New Jersey
           Clarkson S. Fisher Building & U.S. Courthouse
           402 East State Street, Room 2020
           Trenton, New Jersey 08608

                               Re:   Joan Klayton et al v ARS Account Resolution, Healthcare Revenue
                                     Recovery Group, LLC et al.
                                     Civil Case No. 3:21-cv-10053 (MAS)(TJB)

           Your Honor:

                   Pursuant to the Court’s September 6, 2022 Text Minute Entry, I write on behalf of
           Plaintiff and the putative class, on consent, to provide a status report on this case.

                   The parties’ Counsel and Experian’s Counsel have been communicating extensively
           about how certain information relied on by Experian can be produced. Experian’s Counsel has
           indicated that the actual information cannot be produced in document form but that it could
           produce a confirming affidavit. To that end, the parties request an extension of fact to discovery
           for Experian to produce such affidavit and, depending on the information set forth in the
           affidavit, for the parties to complete depositions.

                     Should you have any further questions please do not hesitate to contact me.

                                                                 Very truly yours,

                                                                 /s/ Benjamin J. Wolf
                                                                 Benjamin J. Wolf, Esq.

           Cc: Monica M. Littman, Esq. (via ECF)




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